 Case
MIED (Rev.2:05-cr-80722-SJM-RSW                  ECF
           6/05) Order On Application to Proceed In     No.
                                                    Forma    120, PageID.436
                                                          Pauperis             Filed 01/27/10 Page 1 of 1


                                         United States District Court
                                         Eastern District of Michigan

                                                                 Case Number 05-80722-1
UNITED STATES OF AMERICA,
                                 Plaintiff,                      District Judge PATRICK J. DUGGAN


 v.
GREGORY M. MCCLAIN,



                                Defendant. /


                  ORDER ON APPLICATION TO PROCEED IN FORMA PAUPERIS

Having considered the application to proceed in forma pauperis;

IT IS ORDERED that the application is:

 X    GRANTED.(FOR APPEAL)


      IT IS FURTHER ORDERED that Plaintiff shall arrange for service of the complaint.


       IT IS FURTHER ORDERED that the clerk is directed to process the complaint for service.
      The clerk shall issue the summons and the United States marshal shall serve a copy of the
      complaint, summons and this order upon the defendant(s).


      DENIED, for the following reasons:




 Date: January 27, 2010                                          s/PATRICK J. DUGGAN
                                                               UNITED STATES DISTRICT JUDGE

                                                CERTIFICATION

I hereby certify that this Order was served on plaintiff and/or counsel of record by U.S. mail or electronic means.

 Date: January 27, 2010                                         s/Marilyn Orem
                                                               Deputy Clerk
